Case 1:18-cv-00314-TWP-DML Document 22 Filed 04/09/18 Page 1 of 1 PageID #: 93

                           UNITED STATES DISTRICT COURT
                           FOR THE Southern District of Indiana
                                 Indianapolis Division

                                            NOTICE



  Federal Rule of Civil Procedure 7.1 provides:

                                     Disclosure Statement



  A nongovernmental corporate party must file a disclosure statement that:
      1. identifies any parent corporation and any publicly held corporation owning 10% or
         more of its stock; or

      2. states that there is no such corporation.
  A party must:
      1. file the disclosure statement with its first appearance, pleading, petition, motion,
         response, or other request addressed to the court; and

      2. promptly file a supplemental statement if any required information changes.


          It appears that the required disclosure statement was not provided as set forth
  above. Please correct this omission forthwith.

                                                     s/Laura A. Briggs
                                                     Laura A. Briggs, Clerk
                                                     United States District Court
                                                     Southern District of Indiana


  Cause Number:               1:18−cv−00314−TWP−DML
                              COOPER v. BLATT, HASENMILLER, LEIBSKER &
  Title of Case:              MOORE, LLC et al
  Pleading and Date:          Answer 4/6/18
